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     Counsel for the Congressional Defendants
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 6
                            UNITED STATES DISTRICT COURT
 7
                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9                                 SOUTHERN DIVISION

10     JOHN C. EASTMAN,                         Case No. 8:22-cv-00099-DOC-DFM
11                 Plaintiff,                   CONGRESSIONAL DEFENDANTS’
12
                                                RESPONSE BRIEF REGARDING
       vs.                                      PLAINTIFF’S PRIVILEGE
13                                              ASSERTIONS AS TO DOCUMENTS
       BENNIE G. THOMPSON, et al.,              HELD IN ABEYANCE
14
                   Defendants.
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           Congressional Defendants respectfully ask the Court to conduct an in camera
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     inspection of the remaining 562 documents to determine: (1) the validity of Dr.
 3
 4 Eastman’s privilege assertions, (2) whether Dr. Eastman has waived any applicable

 5
     privileges, and (3) whether Congressional Defendants’ compelling need and/or the crime-
 6
     fraud exception overcome any applicable privileges.
 7
 8         This Court is already familiar with both the facts and procedural history of this
 9
     case. See ECF No. 164-1; ECF No. 350. This Court has likewise already addressed and
10
     resolved the outstanding legal issues relating to prior document tranches. See, e.g., ECF
11
12 No. 356; ECF No. 260. Congressional Defendants do not believe the remaining
13
     documents raise any factual or legal issues requiring additional briefing.1
14
15
           In his most recent privilege log, Dr. Eastman continues to offer conclusory

16 descriptions insufficient to allow Congressional Defendants to accurately assess the

17
     validity of his privilege assertions. See ECF No. 369 (repeatedly noting “potential
18
19 litigation” without further specification, among other issues); see also ECF No. 260 at 21
20 (“Dr. Eastman’s description in the privilege log is conclusory, describing the sender
21
     merely as his ‘co-counsel.’”); id. at 26 (“Although Dr. Eastman’s privilege log describes
22

23
24
25   1
    Congressional Defendants stand on the objections made to Dr. Eastman’s privilege
26 assertions in the briefings addressing the first two document tranches. We do not,
27 however, ask this Court to revisit the legal issues on which it has previously ruled. We
   ask only that this Court review the remaining documents in accordance with its prior
28 orders.
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 1
     some of these documents as ‘comm with counsel and expert re fact evidence,’ he does
 2
     not specify any particular litigation.”).
 3
 4         Additionally, in camera review is necessary because Dr. Eastman’s prior
 5
     representations have proven consistently unreliable. As just one example, this Court
 6
     previously addressed a photograph (Chapman025905, attached as Ex. A) that Dr.
 7
 8 Eastman had described as a “handwritten note re issues for anticipated litigation,” but
 9
     which turned out to be a photograph of a Trump campaign rally with a handwritten note
10
     stating: “TIMES 50 SUCH EVENTS – NO WAY THIS LOSES.” Ex. A; see ECF No.
11
12 356 at 14 (“Although Dr. Eastman’s privilege log claims that the photo is President
13
     Trump’s ‘handwritten note re issues for anticipated litigation,’ the note simply celebrates
14
15
     the size of President Trump’s campaign rallies.”). It was not until August 29, when

16 Congressional Defendants indicated their intent to litigate Dr. Eastman’s remaining

17
     privilege assertions, that Dr. Eastman finally produced the email to which this
18
19 photograph was attached—seven months into the litigation and almost three months after
20 this Court had ruled on the photograph itself. Dr. Eastman had previously described that
21
     email (Chapman025904, attached as Ex. B) to the Court and to Congressional
22

23 Defendants as “Comm with client re note for anticipated litigation.” ECF No. 142; ECF
24 No. 143.2 In reality, the email is merely a one-line note from Molly Michael, then-
25
26
     2
27   Congressional Defendants are unable to determine whether this privilege log
   corresponds to ECF No. 142 or to No. 143, because Dr. Eastman filed multiple privilege
28 logs on that date and the logs are sealed on PACER.
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 1
     President Trump’s assistant, stating: “The President wanted you to see this photo –
 2
     attached with caption[.]” Ex. B.
 3
 4         Other documents produced to the Select Committee on the eve of this Court’s
 5
     review, after months of meritless privilege assertions, further underscore the unreliable
 6
     nature of Dr. Eastman’s privilege descriptions. For example, Dr. Eastman previously
 7
 8 described Chapman059766 (attached as Ex. C) and Chapman059767 (attached as Ex. D)
 9
     as “Comm with co-counsel re Reply ISO Cert Petition.” ECF No. 298. But the
10
     documents—when finally produced—actually consist of email exchanges regarding
11
12 travel plans and stays at Trump International hotels. See Ex. D (“A shame you are not in
13
     DC and could contribute to violation of the emoluments clause.”); id. (“I[’]m stay[i]ng at
14
15
     Trump Int [i]n DC from Jan 3 to at [l]east the 8th. Do[i]ng my part to curry favor w[i]th

16 the Pres[i]dent by [li]n[i]ng h[i]s (empty) pockets! [emoji].”).3

17
           As these examples illustrate, Dr. Eastman’s representations regarding the nature or
18
19 content of the remaining 562 documents are unreliable. Congressional Defendants
20 therefore ask that the Court review these documents in camera to determine the validity
21
     of Dr. Eastman’s privilege assertions and the applicability of the limitations and
22

23 exceptions considered in this Court’s prior orders, including waiver, compelling need,
24 and crime-fraud.
25
26
     3
27   The copies of Chapman059766 and Chapman059767 that Congressional Defendants
   received from Dr. Eastman seem to be missing the letters I and L where they should
28 appear in emails from Kenneth Chesebro and in the email headers.
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 1
     Dated: October 3, 2022          OFFICE OF GENERAL COUNSEL
 2                                   U.S. HOUSE OF REPRESENTATIVES
 3
                                     By: /s/ Douglas Letter
 4                                         Douglas Letter
 5
                                     Attorney for Congressional Defendants
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Case 8:22-cv-00099-DOC-DFM Document 370 Filed 10/03/22 Page 6 of 6 Page ID #:5963



 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5        OFFICE OF GENERAL COUNSEL
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 6        5140 O’Neill House Office Building
 7
          Washington, D.C. 20515

 8          On October 3, 2022, I served the DEFENDANTS’ RESPONSE BRIEF on the
     interested parties in this action:
 9
10        Anthony T. Caso
          Constitutional Counsel Group
11        174 W Lincoln Ave #620
12        Anaheim, CA 92805-2901
          atcaso@ccg1776.com
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14        Charles Burnham
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17
18        Attorneys for Plaintiff John C. Eastman
19
         (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20         The document was served on the following via The United States District Court –
21
           Central District’s CM/ECF electronic transfer system which generates a Notice
           of Electronic Filing upon the parties, the assigned judge, and any registered user
22         in the case:
23
         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                 correct, and that I am employed at the office of a member of
                   the bar of this Court at whose direction the service was made.
25
26        Executed on October 3, 2022 here, at Bethesda, Maryland.
27
                                                    /s/ Douglas N. Letter
28
